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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 07-22988-CIV-MORENO/TORRES


   BUCKLEY TOWERS
   CONDOMINIUM, INC.,

                 Plaintiff,

   v.

   QBE INSURANCE CORPORATION,

                Defendant.
   _____________________________________/


        REPORT AND RECOMMENDATION ON DEFENDANT’S AMENDED
    MOTION TO DISMISS COUNTS I, III, AND IV OF THE AMENDED COMPLAINT

          This matter is before the Court on Defendant’s, QBE Insurance Corp. (“QBE”),

   Amended Motion to Dismiss Counts I, III, and IV of the Amended Complaint [D.E. 76] filed

   in this case by Plaintiff Buckley Towers Condominium, Inc. (“Buckley”). The Court has

   reviewed the motion, Buckley’s response, the reply, related authorities submitted by the

   parties, and the record in the case. For the foregoing reasons, the motion to dismiss should

   be granted in part and denied in part.

                                      I. BACKGROUND

          Buckley filed this declaratory judgment and contract action against QBE arising from

   property damage allegedly suffered due to Hurricane Wilma at Buckley’s 576 unit

   condominium complex. Buckley had purchased a commercial residential property insurance

   policy from QBE in May 2005 at a substantial premium. During the term of that policy,

   Hurricane Wilma struck on October 24, 2005, allegedly causing structural damage throughout

   the condominium complex. Buckley filed a claim on the policy with QBE. Despite conducting
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   inspections by QBE representatives at the property, the amended complaint alleges that QBE,

   two and one-half years later, failed to adjust, pay or settle the claim. [D.E. 52 ¶¶1-15].

          The amended complaint alleges four causes of action: (1) declaratory judgment; (2)

   breach of contract for failure to provide coverage and seeking recovery of actual cash value;

   (3) breach of contract for failure to provide coverage and seeking replacement cost value; (4)

   breach of implied warranty of good faith and fair dealing; and (5) statutory violation of

   Fla.Stat. § 627.70131 by failing to pay or deny coverage within 90 days. QBE now moves to

   dismiss Counts I, III, IV, and V of the amended complaint [D.E. 76], but does not challenge at

   the pleading stage Count II for breach of contract and recovery of actual cash value.

                                          II. ANALYSIS

          The purpose of a motion brought pursuant to Fed. R. Civ. P. 12(b)(6) is to test the facial

   sufficiency of a complaint. The rule permits dismissal of a complaint that fails to state a claim

   upon which relief can be granted. It is read alongside Fed. R. Civ. P. 8(a)(2), which requires

   “a short and plain statement of the claim showing that the pleader is entitled to relief.” To

   survive a 12(b)(6) motion to dismiss, a complaint need not be detailed, but the factual

   allegations contained therein “must be enough to raise a right to relief above the speculative

   level.” Bell Atlantic Corp. v. Twombly, 127 S.Ct. 1955, 1964-65 (2007). “[A] formulaic

   recitation of the elements of a cause of action will not do.” Id. at 1965. The Court does not

   require heightened fact pleading, but does require enough facts to state a claim to relief that

   is plausible on its face. Id. at 1974. In other words, “in considering a motion to dismiss, a

   court will not accept, without more, conclusory allegations or legal conclusions masquerading

   as factual conclusions.” Jackson v. Bellsouth Telecomm., Inc., 181 F. Supp. 2d, 1345, 1353

   (S.D. Fla. 2001).
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          In construing the allegations in the complaint, the Court must accept such allegations

   as true, and view them in a light most favorable to the plaintiff. See Leatherman v. Tarrant

   County Narcotics Intelligence and Coordination Unit, 507 U.S. 163, 164 (1993); Watts v.

   Florida Int’l Univ., 495 F.3d 1289, 1295 (11th Cir. 2007). A well-pleaded complaint will

   survive a motion to dismiss “even if it strikes a savvy judge that actual proof of those facts is

   improbable, and ‘that a recovery is very remote and unlikely.’” Twombly, 127 S.Ct. at 1965

   (internal citation omitted).

          The Court must, finally, analyze the issues raised in the motion to dismiss under

   Florida law, as the parties have agreed that such law provides the rule of decision in this case

   arising from a contract for insurance on real property in this state.

          A.     Count I - Declaratory Judgment

          The “case or controversy” requirement of the Constitution is an important limitation

   on federal court jurisdiction. U.S. Const., art. III, § 2. “To satisfy the case and controversy

   requirement of Article III, a plaintiff must have suffered some actual injury that can be

   remedied or redressed by a favorable judicial decision.” National Advertising Co. v. City of

   Ft. Lauderdale, 934 F.2d 283, 285-86 (11th Cir. 1991). This requirement shields federal courts

   from being drawn into disputes as to abstract or hypothetical cases, or ones in which purely

   advisory opinions affecting a dispute are being sought. E.g., Aetna Life Ins Co. v. Haworth,

   300 U.S. 227, 240 (1937); Webster v. Reproductive Health Servs., 492 U.S. 490, 500 (1989).

          As explained by the Eleventh Circuit:

                 The plaintiff must allege facts from which the continuation of the
                 dispute may be reasonably inferred. Additionally, the continuing
                 controversy may not be conjectural, hypothetical, or contingent;
                 it must be real and immediate, and create a definite, rather than
                 speculative threat of future injury.
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   Emory v. Peeler, 756 F.2d 1547, 1551-52 (11th Cir. 1985). Accord 13A C. Wright & A. Miller,

   Federal Practice & Procedure, § 3532.1 at 114 (2d ed.) (“The central perception [of the

   justiciability doctrines] is that courts should not render decisions absent a genuine need to

   resolve a real dispute. Unnecessary decisions dissipate judicial energies better conserved for

   litigants who have a real need for official assistance.”).

          Similarly, the Declaratory Judgment Act, 28 U.S.C. § 2201, under which Count I of the

   amended complaint must be based, is a grant of jurisdiction only as to those rights and

   liabilities that are immediate and real, or that are certain to arise. E.g., Calderon v. Ashmus,

   523 U.S. 740, 746-47 (1998) (no case or controversy where action seeks declaratory relief as

   to validity of defenses that may or may not be raised in subsequent litigation).1 A party

   seeking a declaration judgment must allege facts in a complaint from which it appears that

   there is a substantial likelihood that it will suffer injury in the future. Malowney v. Federal

   Collection Deposit Group, 193 F.3d 1342, 1346 (11th Cir. 1999) (citing City of Los Angeles v.

   Lyons, 461 U.S. 95, 102 (1983); Cone Corp. v. Florida Dep’t of Transp., 921 F.2d 1190, 1205

   (11th Cir. 1991)).

          First, we agree with QBE that Buckley has not alleged a basis to proceed with a

   declaratory judgment claim with regard to its allegations regarding the validity and

   enforceability of the Policy generally, or the co-insurance provision’s compliance with Fla. Stat.


          1
                  The amended complaint is technically based only on Chapter 86, Florida
   Statutes, which is the state’s version of the Declaratory Judgments Act. See Fla. Stat. §
   86.021. The state statute is, however, a procedural mechanism within the Civil Practice and
   Procedure Chapters, Title VI, that confers subject matter jurisdiction on Florida circuit and
   county courts. There is nothing in this particular statutory provision that confers any
   substantive rights. Therefore, as this is a diversity action in federal court, we cannot apply
   that statute to determine whether or not a declaratory action can lie. See, e.g., McMahon v.
   Toto, 256 F.3d 1120, 1131-32 (11th Cir. 2001) (applying Erie R.R. Co. v. Tompkins, 304 U.S.
   64, 78 (1938)). As a practical matter, however, the elements required under the federal or
   state declaratory judgment acts are not materially different. Compare Malowney, 193 F.3d
   at 136, with Floyd v. Guardian Life Ins. Co., 415 So. 2d 103, 104 (Fla. 3d DCA 1982).
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   § 627.701 in particular. [D.E. 52 ¶¶21, 27-28]. Buckley has only generally alleged that it is

   in doubt as to that issue, but has not alleged that there is in fact any dispute between the

   parties as to the overall enforceability of the insurance contract. Indeed, QBE’s response

   stipulates that the Policy is valid and enforceable. [D.E. 76 at 6]. Therefore, there is no actual

   injury that Buckley has alleged in the complaint that requires declaratory adjudication of the

   general enforceability of the contract.

          Similarly, as to any issues relating to the co-insurance provision of the contract, QBE

   has also stipulated that it shall not seek to enforce the co-insurance penalty. [D.E. 76 at 7].

   Moreover, beyond a general contention that the co-insurance provision is void, the amended

   complaint raises this matter in only a conclusory fashion that is inadequate for a declaratory

   judgment. There is thus no tangible justiciable case or controversy with respect to this

   provision, as there have been no factual allegations that show a “substantial likelihood” that

   Buckley has or will suffer an actual or imminent injury. To the contrary, the injury alleged

   in this amended complaint is purely conjectural, hypothetical, and contingent. See, e.g., Bowen

   v. First Family Fin. Svs., Inc. 233 F.3d 1331, 1339 (11th Cir. 2000) (holding that no case or

   controversy existed over enforceability of arbitration agreement because it was uncertain

   whether anyone would seek to enforce that agreement in the future). Accordingly, as with the

   broader question of enforceability of the contract, the co-insurance issues are moot for which

   no judicial determination is necessary. The motion should be granted with respect to these

   aspects of the declaratory judgment claim in Count I of the amended complaint.

          Second, we take a different view with the remaining arguments in the motion to

   dismiss the declaratory judgment count in its entirety. QBE argues that declaratory relief is

   not generally available to settle insurance coverage questions where no contract construction

   is required, and that no such construction issue is yet ripe. QBE also argues that where the
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   real dispute is of a factual nature concerning loss and valuation dismissal of a declaratory

   relief action is proper, citing state appellate cases to that effect.

          The problem with that argument, however, is that the amended complaint contains

   sufficient factual allegations that there is a real coverage dispute in this case, and further that

   QBE has refused to settle the claim after much time has passed in accordance with its

   obligations under the policy. [D.E. 52 ¶¶22-25]. Buckley has alleged that it submitted its

   claim for hurricane damages, but QBE has yet to “timely adjust, pay or settle [its] claims for

   damage it sustained from Hurricane Wilma.” [Id. ¶22]. This failure to act is sufficient for

   Buckley to infer the existence of a dispute as to its right to coverage under the insurance

   policy. There is a definite, concrete injury alleged in the amended complaint that satisfies the

   case or controvery requirement and the Declaratory Judgment Act. See, e.g., Quadomain

   Condo. Ass’n, Inc. v. QBE Ins. Corp., 2007 WL 1424596 (S.D. Fla. May 14, 2007); Townhouses

   of Highland Beach Condo. Ass’n, Inc. v. QBE Ins. Corp., 504 F. Supp. 2d 1307, 1309-12 (S.D.

   Fla. 2007).

          Therefore, as to remaining factual allegations contained in Count I of the amended

   complaint, there is no basis to dismiss the claim at the pleading stage. The motion should be

   denied except with respect to the issues discussed above having to do with the enforceability

   of the contract generally or the allegedly void co-insurance provision.

          B.      Count III - Replacement Costs

          QBE has not challenged Buckley’s breach of contract claim with respect to recovery of

   actual cash value coverage. QBE has, however, moved to dismiss Count III that is also a

   breach of contract claim but relating specifically to the replacement cost provision of the policy.

   That provision provides optional coverage, in addition to actual cash value coverage, for the

   replacement cost for any loss or damage unless the lost or damaged property is not actually
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   repaired and unless the repairs are made as soon as reasonably possible after the loss. [D.E.

   52-2 ¶G.3.d.]. QBE argues that Buckley cannot allege a breach of contract claim under this

   provision because it has not alleged specifically that all relevant repairs or replacements have

   taken place. And without that allegation, under Florida law Buckley cannot recover because

   liability for replacement cost does not arise absent that showing. See Ceballo v. Citizens Prop.

   Ins. Corp., 967 So. 2d 811, 815 (Fla. 2007); State Farm Fire & Cas. Co. v. Patrick, 647 So. 2d

   983, 983-84 (Fla. 3d DCA 1994).

          Buckley responds that QBE’s failure to adjust, pay or settle Buckley’s claim, as alleged

   in the amended complaint, has frustrated Buckley’s ability to make all the repairs necessary

   for it to receive replacement cost reimbursement. Moreover, Buckley contends that it has in

   fact made some repairs for which it had to obtain loan financing. [D.E. 52 ¶70]. Plus, even if

   those repairs had not been made, Buckley contends that the issue is not subject to a motion

   to dismiss because it is more properly addressed in connection with QBE’s affirmative

   defenses. Finally, Buckley states that even if the failure to make all repairs or replacements

   is a condition precedent to recovery of replacement cost damages, QBE’s conduct frustrated

   those efforts and excused the failure of the condition precedent.

          Upon review of the caselaw cited by both parties, the Court finds that this issue is not

   ripe for a motion to dismiss. None of the cases cited in the motion or reply addressed this

   particular issue on a motion to dismiss. The reason why is obvious. Fundamentally, the

   elements of the breach of contract (contractual promise, breach of performance, and damages)

   have been alleged in this Count. The dispute boils down to whether or not Buckley is entitled

   to seek replacement cost coverage, which is an issue that is better viewed as Buckley’s

   compliance with a condition precedent under the contract. QBE argues that it failed to meet

   that condition, while Buckley claims that it did and that, if it did not, it is QBE’s breach of the
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   contract that let do that failure. Satisfaction of conditions precedent, however, is not a matter

   that is adjudicated on a motion to dismiss.

          Under Rule 9(c), conditions precedent may be alleged generally in a complaint. If the

   defendant disagrees with that allegation, “a denial of performance or occurrence shall be made

   specifically and with particularity.” Fed. R. Civ. P. 9(c); see, e.g., Jackson v. Seaboard Cost

   Line R.R., 678 F.2d 992, 1010 (11th Cir. 1982). The plaintiff then bears the burden of proving

   that the condition precedent at issue has been satisfied. Jackson, 678 F.2d at 1010.

          Here Buckley has generally alleged satisfaction of all conditions precedent. [D.E. 52

   ¶17]. As a matter of pleading that is sufficient. QBE may of course respond with particularity

   that Buckley has failed to do so with respect to the replacement cost issue. And at the

   summary judgment stage of the case, when Buckley must first show that it complied with that

   condition, the Court must decide if that is the case or if a trial issue remains for the jury to

   consider. The cases cited by QBE in support of their argument illustrate that. See Ceballo,

   967 So. 2d at 811 (trial court decided on partial summary judgment that replacement coverage

   was required; appellate court reversed and Supreme Court affirmed reversal of summary

   judgment); State Farm v. Patrick, 647 So. 2d at 983-84 (trial court awarded damages under

   replacement coverage provision but appellate court reversed because plaintiff had not proven

   that repairs or replacement had been completed).

          QBE’s motion to dismiss this Count must, therefore, be denied because the issue is one

   of proof, not one of pleading. Buckley has sufficiently plead its contract claim and its

   entitlement to replacement cost damages based on its satisfaction of all conditions precedent.

   If QBE denies that allegation with particularity, as it apparently will, then Buckley will have

   to prove that the condition is satisfied or excused. See Jackson, 678 F.2d at 1010. Now is not

   the time for Buckley to have do that.
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          C.      Count IV - Breach of Implied Covenant of Good Faith and Fair Dealing

          The amended complaint alleges in Count IV that Buckley is entitled to damages based

   on QBE’s breach of its implied covenant of good faith and fair dealing that is part of its

   insurance contract. Buckley alleges that the contract provided QBE with discretion to make

   a reasonably timely coverage and loss determination, for which Buckley had a reasonable

   commercial expectation.      QBE’s failure, after two and one-half years, to exercise that

   discretion has frustrated Buckley’s contractual expectation and resulted in consequential

   damages to Buckley, for which it seeks compensatory damages and attorneys’ fees. [D.E. 52

   ¶¶61-71].

          QBE, however, moves to dismiss this claim because, as a matter of law, a contractual

   claim for a breach of the duty of good faith and fair dealing cannot be raised until the coverage

   litigation has concluded, as is the case with a statutory bad faith claim under Fla. Stat. §

   624.155. QBE maintains that Buckley’s contractual claim is nothing more than a bad faith

   claim disguised as a breach of contract claim. QBE points repeatedly to Chief Judge Moreno’s

   holding in Quadomain, 2007 WL 1424596 at *4-5, that an implied warranty claim is

   premature within the scope of this coverage dispute.

          Buckley responds that its cause of action plead in Count IV is separate and distinct

   from a cause of action for first-party bad faith, which is extra-contractual in nature, while this

   implied warranty claim arises strictly from the express contractual provisions that QBE

   breached that frustrated Buckley’s commercial expectations. Notably, Buckley’s response does

   little to distinguish or reconcile its argument with this Court’s decision in Quadomain. At a

   hearing held on related discovery issues, however, Buckley’s counsel argued that we should

   reconsider or ignore the Quadomain decision in response to Judge Middlebrooks’s more recent

   decision in Chalfonte Condo. Apt. Ass’n v. QBE Ins. Corp., No. 06-81046-Civ-Middlebrooks
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   (S.D. Fla. Dec. 17, 2007), that held that implied warranty claims are an alternative means of

   recovery for an insured in addition to a statutory bad faith claim under section 624.155 and,

   consequently, may be raised together with a contractual coverage dispute. Buckley added that

   Quadomain could also be distinguished based on the particular allegations plead in this

   amended complaint that were not plead in Quadomain. In other words, Chief Judge Moreno’s

   Order was based purportedly on only the allegation that QBE failed to “fairly” pay the claim,

   which was found to be lacking, while this amended complaint alleges more specifically that

   “QBE’s delay and failure to timely adjust Buckley Towers’ claim has frustrated the purpose

   of the Insurance Contract and has disappointed Buckley Towers’ reasonable commercial

   expectations under the Insurance Contract.” [D.E. 52 ¶69].

          Buckley’s arguments notwithstanding, we hold that the Quadomain decision squarely

   applies here. Chief Judge Moreno’s Order held that a breach of implied warranty allegation

   could theoretically be asserted together with an express breach of contract claim arising from

   the failure to provide property coverage under Florida law, notwithstanding the settled rule

   that there is no separate cause of action for breach of that implied duty. See Burger King

   Corp. v. Weaver, 169 F.3d 1310, 1316 (11th Cir. 1999), cited in Quadomain, 2007 WL 1424596

   at *4. Nevertheless, the Court also held that the claim had to be dismissed based upon its

   overlap with a statutory bad faith claim that can only be brought under Fla. Stat. § 624.155.

   And because such a bad faith claim is premature before the coverage litigation is adjudicated,

   Blanchard v. State Farm Mut. Auto Ins. Co., 575 So. 2d 1289, 1291 (Fla. 1991), the Court

   dismissed the contractual claim for breach of the implied warranty of good faith that was a

   disguised bad faith claim. Quadomain, 2007 WL 1424596 at *5-6.

          Buckley’s attempts to distinguish that decision from the amended complaint at issue

   here fail. The claims at issue were in fact materially the same. Although the Order referenced
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   at one point the failure to “‘fairly’ pay [the insured’s] claim” as being akin to a wrongful bad

   faith claim, other parts of the Order also referenced the timeliness issue that Buckley relies

   on here:

                  In the instant case, Quadomain brings this claim against QBE for
                  “failing to pay,” “failing to fairly and promptly investigate,”
                  “failing to fairly and promptly pay,” “failing to fairly and
                  promptly settle,” and “[o]therwise failing to provide property
                  coverage.” From the word “promptly,” it would appear that
                  Quadomain is attempting to limit QBE’s discretion regarding the
                  timeliness of coverage. The policy at issue contains no express
                  provision regarding a deadline for settling a damages claim.

   Quadomain, 2007 WL 1424596 at *4.

          Thus it is plainly clear that fairness and timeliness were at the heart of the complaint

   at issue in that case, as they are here, which Chief Judge Moreno found were premature and

   inappropriate as part and parcel of the contractual coverage dispute. Similarly, the presence

   of language in this amended complaint that specifically alleges that Buckley’s commercial

   expectations have been frustrated does not require a change in the outcome. That allegation

   is a legal conclusion; the facts underlying that allegation are all based on the failure to fairly

   and promptly settle Buckley’s claim. While Chief Judge Moreno recognized that an implied

   warranty of good faith claim focuses on “implied contractual obligations and reasonable

   expectations,” id. at *6, he still found that the same factual allegations could not be raised

   outside the scope of a bad faith claim under section 624.155.

          The same analysis has to apply here.          Buckley’s claim is based on an implied

   contractual obligation based upon its commercially reasonably expectations. Nevertheless,

   because the factual allegations underlying its claim are based upon QBE’s failure to fairly and

   promptly perform under its obligations in the contract, that contractual claim can only be

   asserted, if at all, together with the extra-contractual bad faith claim under section 624.155.
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          We could stop there, of course, based on the practical conclusion that Chief Judge

   Moreno would likely not view this case differently only one year after his decision in

   Quadomain. But in fairness to Buckley’s contrary arguments, we proceed to discuss, briefly,

   whether or not we should recommend that he reconsider his decision. Having looked at this

   from a fresh perspective, the conclusion we draw is that the Quadomain decision, as well as

   other courts that reached similar conclusions, reached the correct result under Florida law.

   See also Trief v. Am. Gen. Life Ins. Co., 444 F. Supp. 2d 1268, 1269 (S.D. Fla. 2006) (Ungaro,

   J.); Mid-Continent Cas. Co. v. Royal Palm Estate Builders, Inc., 2007 U.S. Dist. LEXIS 74699

   (S.D. Fla. 2007) (Hurley, J.); CNL Hotels & Resorts, Inc. v. Twin City Fire Ins. Co., 2006 U.S.

   Dist. LEXIS 75003 (M.D. Fla. 2006) (Presnell, J.).

          After reviewing the arguments in Judge Middlebrooks’s Order in Chalfonte, the

   fundamental basis for the contrary view is that, absent express guidance from the Florida

   Supreme Court or the Florida Legislature, section 624.155 cannot be read to preempt a

   contractual claim arising from the implied warranty of good faith that is inherent in all

   insurance contracts. The problem with that theory is that, in fact, the Florida Supreme Court

   has repeatedly addressed this issue in varying contexts.

          The Florida Supreme Court has on many different occasions explained that, prior to

   1982, there was no “civil remedy” for an insurer’s bad faith in the first-party coverage context.

   For instance, in a case addressing work product privilege for first-party bad faith claims,

   Allstate Indemnity Co. v. Ruiz, the Court held that, the “statutory remedy [under Fla. Stat.

   §624.155] essentially extended the duty of an insurer to act in good faith and deal fairly in

   those instances where an insured seeks first-party coverage or benefits under a policy of

   insurance.” 899 So. 2d 1121, 1126, 1129 (Fla. 2005) (citing in part Fidelity & Casualty

   Insurance Co. of New York v. Taylor, 525 So. 2d 908 (Fla. 3d DCA 1987) (“In a ‘first-party’
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   action against an insurance carrier founded upon section 624.155(1)(b), which affirmatively

   creates a company duty to its insured to act in good faith in its dealings under the policy,

   liability is based upon the carrier's conduct in processing and paying a given claim.”)).

          The Court’s use of the term “civil remedy” is significant. The Court did not merely say

   civil tort claim or non-contractual claim or extra-contractual claim. It said no “civil remedy”

   was available. That would obviously include the claim presented here, a breach of contract

   claim for contractual damages under the implied warranty of good faith and fair dealing. This

   rebuts Buckley’s argument that its implied warranty claim is not preempted by section

   624.155 because it is contractual, while the statutory bad faith claim is extra-contractual.

   Both types of claims never existed prior to 1982.

          Ruiz is by no means unique. In Macola v. Government Employees Insurance Co., 953

   So. 2d 451 (Fla. 2006), the Supreme Court was addressing, in a third-party bad faith context,

   whether a common law claim could be asserted in the face of an insurer’s tender of policy

   limits following receipt of a civil remedy notice under the statute. The Court again reviewed

   Florida’s bad faith jurisprudence and acknowledged that common law first-party bad faith

   actions never existed. “If an insurer acted in bad faith in settling a claim filed by its insured,

   the only common law action available to the insured was a breach of contract action against

   the insurer in which damages were limited to those contemplated by the parties in the

   insurance policy.” Id. at 455.

          Macola cited in support for that conclusion its earlier decision in Tatel Enterprises, Inc.

   v. Aetna Casualty and Surety Co., where the Court explained that “the civil remedy provided

   in subdivision (1)(b)(1) was not in existence for first-party insureds before the adoption of the

   civil remedy statute.” 753 So. 2d 1278, 1283 (Fla. 2000) (emphasis added). The Court added

   that for “[plaintiff] there is no remedy without the statute.” Id. As a consequence, the
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   Supreme Court affirmed summary judgment against a policyholder that filed suit “for breach

   of a covenant of good faith and fair dealing to promptly negotiate and settle [plaintiff’s] claim”

   because the insurer had complied with the cure provision found in Fla. Stat. § 624.155(2)(d)

   by paying the underling contract damages within sixty days from the date the plaintiff filed

   its bad-faith notice. The plaintiff had argued that the insurer was required to pay not only the

   damages flowing directly from the policy but also “all extra-contractual damages flowing from

   Aetna’s alleged failure to make a good faith attempt to settle [plaintiff’s] claim.” Id. at 1279.

          If, as Buckley’s argument implies, the plaintiff in that case could have ignored the

   statutory bad faith claim (and the conditions precedent in that statute that doomed his claim)

   and filed instead a breach of implied warranty claim together with his underlying coverage

   dispute, how could the Florida Supreme Court have reached the conclusion that the plaintiff’s

   only theory of recovery arose under the statute? And why would it have said in Macola that,

   absent the statutory bad faith claim, an insured in Florida was limited to the breach of

   contract claim for only the limits of the policy. Thus, if the plaintiffs referred to in Macola and

   Tatel could not recover their extra-contractual damages except as strictly provided for under

   the statute, how can Buckley recover extra-contractual damages here (i.e. the financing cost

   incurred from the delayed payment on the policy) when it had no civil remedy for those

   damages, according to the Court, before the 1982 legislative act that enacted section 624.155?

   “[L]ogic and common sense” – to use the words of the Florida Supreme Court – dictate that

   Buckley cannot recover those extra-contractual damages here either. Id. at 1284.

          Further support for this conclusion is found in earlier cases. In State Farm Mutual

   Auto Insurance Co. v. Laforet, the Court reviewed extensively the history of both first-party

   and third-party bad faith claims. 658 So. 2d 55 (Fla. 1995). Again, the Court explained that,

   while third-party actions against insurers for breach of their duty of good faith dated back to
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   1938, Florida courts had refused to recognize any liability against the insurer to its insureds

   based upon the insurer’s lack of good faith in settling claims. Id. at 57-59.

          One of the examples the court cited was an appellate court decision from the First

   District, Baxter v. Royal Indemn. Co., 285 So. 2d 652 (Fla. 1st DCA 1973). In Baxter, the court

   held that the insurer’s refusal to pay on an automobile policy until it received an adverse

   coverage decision from an arbitrator could not entitle the insured to consequential damages

   from that refusal because the insurer’s options under the policy could be exercised regardless

   of “good faith, bad faith, self-interest, malice, spit, or indifference.” Id. at 656. That conclusion

   was reached in the face of a persuasive dissent that argued, as Buckley does here, under the

   “settled law of Florida” that there is in every insurance policy “implied by law a covenant of

   good faith and fair dealing,” id. at 660 (citing in part Auto Mut. Indemn. Co. v. Shaw, 184 So.

   852 (1938)). Moreover, the dissent found support for its conclusion from a California decision

   based on a California good faith statute. “While the Florida Legislature has not enacted an

   analogous statute, a comparison of the language of the California statute with the decisional

   law of Florida as stated in Florida jurisprudence explains why we have no statute. The reason

   simply is that the principle of the California statute is already the law of Florida!” Id. at 661

   (emphasis added).

          The only reasonable conclusion that can be drawn now is that the Baxter dissent’s

   theory – that there is a contractual duty of good faith against an insurer enforceable at law

   – was never accepted by Florida courts until the Legislature adopted the very same type of

   statute in 1982. If, as Buckley argues, there was always an implied duty of good faith

   enforceable at law under the insurance contract, there would have been no need for the

   enactment of section 624.155. But as the Florida Supreme Court has repeatedly made clear,

   no theory of liability was ever available to an insured against the insurer until 1982. That
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   clearly includes a contractual theory of liability based on the implied covenant or warranty of

   good faith and fair dealing.

          To argue now, 26 years later, that there was this contractual/implied theory of liability

   lying in the weeds all along simply flies in the face of historical fact and judicial precedent.

   And because we in federal court must apply state law in accordance with the decisions of the

   Florida Supreme Court and its intermediate appellate courts, McMahan v. Toto, 311 F.3d at

   1079, it is not possible to conclude in the face of all these cases that Buckley has a contractual

   cause of action for breach of implied warranty of good faith outside the scope of a section

   624.155 bad faith claim, which indisputably cannot be raised until this coverage case is over.

          This is the same conclusion drawn by Judge Hurley in reviewing these same Florida

   decisions.2 This proposition addresses Judge Middlebrooks’s contention that the preemption

   provision of the statute, section 624.155(8), does not preempt an insured’s right to bring a

   common law implied warranty claim. Chalfonte, No. 06-81046, at 9 (citing also Lee Mem’l

   Health Sys. v. Medical Sav. Ins. Co., 2005 WL 2291679, *5 (M.D. Fla. 2005), Dennis v.

   Northwestern Mut. Life Ins. Co., 2006 WL 1000308, *4 (M.D. Fla. 2006) (stating that “nothing




          2
                Auto-Owners Ins. Co. v. Am. Yachts, Inc., 492 F. Supp. 2d 1379, 1383 (S.D. Fla.
   2007). As Judge Hurley explained:

          [A]t common law, the cause of action for bad faith arose only in the third-party
          context, and did not extend to first-party actions by an insured against its own
          insurer for failing to act in good faith when settling a claim. See [Talat]. As the
          Florida Supreme Court previously stated, “Florida courts had refused to
          recognize the tort of first-party bad faith because the type of fiduciary duty that
          exists in third-party actions is not present in first-party actions and the insurer
          is not exposing the insured to excess liability.” Laforet, 658 So.2d at 59. It was
          not until 1982 that the Florida legislature modified the common law, effectively
          creating a statutory cause of action for first-party bad faith, and also codified
          earlier Florida court decisions authorizing third-party bad faith claims. See Fla.
          Stat. § 624.155(1)(b).
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   in Florida Statute § 624.155 prevents Plaintiff from asserting a claim for breach of the implied

   covenant of good faith and fair dealing.”)). That provision states:

                 The civil remedy specified in this section does not preempt any
                 other remedy or cause of action provided for pursuant to any
                 other statute or pursuant to the common law of this state.

   Fla. Stat. § 624.155(8). The problem with the reliance on this provision is that, when it was

   enacted, there was no other “civil remedy” available to Buckley or any other insured, either

   in tort or contract, against the insurer. In other words, the statute is not disclaiming

   preemption of the type of claim raised here because this claim was never recognized in Florida

   before 1982. The statute is irrelevant. See also Macola, 953 So. 2d at 457 (“Unlike a first-

   party bad faith action, which must be brought under [section 624.155], a third-party bad faith

   action can be pursued under both the common law and the statute.”); Opperman v. Nationwide

   Mut. Fire Ins. Co., 515 So. 2d 263, 265 (Fla. 5th DCA 1987) (“Unless the insured could allege

   an independent tort such as fraud or intentional infliction of mental distress, the only relief

   available on a first party claim [under section 624.155(8)] was a cause of action for breach of

   contract”); Saenz v. Campos, 967 So. 2d 1114, 1117 (Fla. 4th DCA 2007) (finding that section

   624.155(8) provides for claims such as fraud, breach of contract, or intentional infliction of

   emotional distress).

          Therefore, based on Quadomain and our analysis of the issue once again, Buckley’s

   contractual claim for breach of QBE’s implied warranty of good faith and fair dealing must be

   dismissed as a matter of law. Buckley’s relief for the unreasonable or untimely payment of

   its claim is limited to a section 624.155 action that does not ripen until this litigation is

   concluded. Count IV should be dismissed.
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          D.     Count V - Violation of Section 627.70131

          Buckley raised a claim in Count V of the amended complaint for a violation of Fla. Stat.

   § 627.70131 that provides:

                 (5)(a) (Effective June 11, 2007, as amended by ch. 2007-90)
                 Within 90 days after an insurer receives notice of a property
                 insurance claim from a policyholder, the insurer shall pay or
                 deny such claim or a portion of the claim unless the failure to pay
                 such claim or a portion of the claim is caused by factors beyond
                 the control of the insurer which reasonably prevent such
                 payment. . . . Failure to comply with this subsection constitutes
                 a violation of this code. However, failure to comply with this
                 subsection shall not form the sole basis for a private cause of
                 action.

   Buckley alleges that QBE failed to comply with the statute by failing to pay its Hurricane

   Wilma claim within 90 days. [D.E. 52 ¶79]. Buckley seeks damages under the statute and

   attorneys’ fees.

          QBE moved to dismiss this count based on the plain language in the text of the statute

   that disclaims its application to a private cause of action. In response to the motion, and not

   surprisingly, Buckley has cited the Court to no case that has upheld a civil cause of action or

   civil claim under this particular statute. That is likely due to the fact that the statute says

   that it cannot be the sole basis for a private cause of action.

          Buckley nevertheless takes issue with that common sense interpretation of the statute

   by focusing on the use of the word “sole”. Buckley argues that had the legislature actually

   meant what it seems to have said, it would not have added the term “sole”. But by doing so,

   Buckley theorizes, the legislature clearly intended to remedy an insurer’s non-compliance with

   this provision by allowing an insured to sue the insurer as long as it has other claims on which

   to append the section 627.70131 claim.

          Buckley’s argument is quite meritless. When the legislature said that a failure to

   comply with the statute could not be a sole basis for a private cause of action, it was not
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   intending for plaintiffs like Buckley to file such claims only as tag-along claims. It was clearly

   intending to bind the insurer to its provisions in response to a Department of Insurance review

   or a bad faith claim. Indeed, if Buckley ultimately pursues such a claim against QBE for this

   loss, Buckley’s argument that QBE failed to timely process its claim can rely in part upon the

   requirements of section 627.70131. The statute is merely codifying a principle that Buckley

   seeks to enforce in this case.

            This responds to Buckley’s argument that the legislature must have intended plaintiffs

   like Buckley to have a remedy under the statute. What the face of the statute also provides,

   however, is that the legislature did not intend to create any private cause of action against the

   insurer that is based merely upon a violation of the statute. Buckley’s argument to the

   contrary must fail. The Court readily concludes that the Florida Supreme Court would not

   interpret the unequivocal language used in this statute as a license for Buckley to pursue this

   claim.

            Moreover, the Court agrees that QBE’s second argument, that the statute does not

   apply here based on its effective date, is also grounds for dismissal of the claim. The

   allegations of the amended complaint show that the claim was initiated on or reasonably after

   October 24, 2005. The statute provides, however, that it applies only to an insurer that

   receives a property damage claim after June 11, 2007. On its face, therefore, the amended

   complaint does not fall within the scope of protection from this statute.

            Buckley’s argument that the statute can be applied retroactively is also without merit.

   The Court cannot apply the statute retrospectively when, on its face, it precludes its

   application to any claim asserted before June 11, 2007. Had that language not been in the

   statute, then Buckley’s reliance on cases like Old Port Cove Condo. Ass’n, Inc. v. Old Port Cove

   Holdings, Inc., 954 So. 2d 742, 745 (Fla. 4th DCA 2007), may have been more tenable. But
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   because we must apply the statutory text when it is unambiguous and conveys a clear and

   definite meaning, Tillman v. State, 934 So. 2d 1263, 1269 (Fla. 2006), there is no room for

   interpretation. The statute can only be effective after June 11, 2007, and there is no allegation

   in the amended complaint that falls within this effective date.

          Count V must clearly be dismissed.

                         III. CONCLUSION & RECOMMENDATION

          For the foregoing reasons, it is hereby recommended as follows:

          1.     QBE’s Amended Motion to Dismiss Counts I, III, and IV of the Amended

   Complaint [D.E. 76] should be GRANTED IN PART and DENIED IN PART as follows:

                 a.      Count I should be dismissed with respect to allegations in the declaratory

   judgment count relating to enforceability of the insurance contract or a void co-insurance

   provision. In all other respects, Count I should not be dismissed.

                 b.      Count III should not be dismissed.

                 c.      Count IV should be dismissed without leave to amend.

                 d.      Count V should be dismissed without leave to amend.

          2.     Pursuant to S.D.Fla.Mag.J.R.4(b), the parties have ten days from the date of

   this Report and Recommendation to serve and file written objections, if any, with the District

   Judge. Failure to timely file objections shall bar the parties from a de novo determination by

   the District Judge of any finding in this Report and Recommendation and bar the parties from

   attacking on appeal the findings contained herein. R.T.C. v. Hallmark Builders, Inc., 996 F.2d

   1144, 1149 (11th Cir. 1993); LoConte v. Dugger, 847 F.2d 745 (11th Cir. 1988); Nettles v.

   Wainwright, 677 F.2d 404, 410 (5th Cir. Unit B 1982) (en banc); 28 U.S.C. § 636(b)(1).
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           DONE AND SUBMITTED in Chambers at Miami, Florida, this 17th day of June,

   2008.


                                                     _________________________________
                                                     EDWIN G. TORRES
                                                     United States Magistrate Judge
